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                   Exhibit A - Proposed Order Pg 1 of 3



                          EXHIBIT A
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                             Exhibit A - Proposed Order Pg 2 of 3



                                           EXHIBIT A


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                       )
In re:                                                 ) Chapter 11
                                                       )
THE ROMAN CATHOLIC DIOCESE OF                          ) Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,                            )
                                                       )
Debtor.                                                )
                                                       )


        ORDER GRANTING MOTION OF THE OFFICIAL COMMITTEE
        OF UNSECURED CREDITORS TO EXCLUDE CERTAIN DIRECT
   TESTIMONY AND EVIDENCE OFFERED BY OR THROUGH THE DIOCESE’S
 TESTIFYING EXPERT IN CONNECTION WITH THE COMMITTEE’S MOTION TO
    DISMISS THE CHAPTER 11 CASE AND CORRESPONDING EVIDENTIARY
                 OBJECTIONS AND MOTION TO STRIKE

         Upon the Motion of the Official Committee of Unsecured Creditors to Exclude Certain

Direct Testimony and Evidence Offered By or Through the Diocese’s Testifying Expert in

Connection with the Committee’s Motion to Dismiss the Chapter 11 Case and Corresponding

Evidentiary Objections and Motion to Strike (the “Motion”); the Court having reviewed the

Motion having considered the statements of counsel at a hearing before the Court

(the “Hearing”); the Court finding that (a) the Court has jurisdiction over this matter under

28 U.S.C. §§ 157 and 1334, (b) venue is proper in this district under 28 U.S.C. §§ 1408 and

1409, (c) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and (d) notice of the

Motion was sufficient under the circumstances; and; and the Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing further establish just cause for

the relief granted herein;




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                             Exhibit A - Proposed Order Pg 3 of 3



IT IS HEREBY ORDERED THAT:

        1.       The Motion is GRANTED.

        2.       The Diocese and any objecting party to the Motion to Dismiss are prohibited from

offering any testimony or statement from Mr. Moore concerning the dismissal/litigation analysis

and litigation costs, whether set forth in the Direct Testimony of Charles M. Moore dated June

30, 2023 [D.I. 2224] (the “Moore Testimony”) or otherwise, and any such testimony related to

the litigation costs is stricken. Specifically, pages 4 through 8 of the Moore Testimony

referencing his dismissal/liquidation analysis and the chart set forth in page 9 (Figure 1:

Dismissal Analysis) are excluded, and paragraph 2.Q (pages 14-15) is stricken and excluded.

        3.       This Court shall retain exclusive jurisdiction over any matters arising from or

related to the implementation, interpretation or enforcement of this Order.



Dated: ______________, 2023                        _____________________________________
New York, NY                                       UNITED STATES BANKRUPTCY COURT




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